 B6D (Official Form 6D) (12/07)


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   In re          Jennifer Philoan Phan                                                                                          Case No.    10-50707 RLE
                                                                                                                    ,
                                                                                                   Debtor

                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                              C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                 O                                                              O    N   I
                                                              D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                E                                                              T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                               B   W            NATURE OF LIEN, AND                           I    Q   U                      PORTION, IF
                                                              T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                             DEDUCTING
           AND ACCOUNT NUMBER                                 O                                                              G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                  C                 OF PROPERTY
                                                              R
                                                                                  SUBJECT TO LIEN
                                                                                                                             E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No. 6824-9022-572399                                          3rd Deed of Trust                                           E
                                                                                                                                  D

Bank of America                                                       Single Family Residence
PO Box 30750                                                          577 Paseo Refugio
Los Angeles, CA 90030-0750                                            Milpitas, CA 95035
                                                                  -

                                                                       Value $                              980,000.00                         49,960.14                  0.00
Account No. 00447022429024                                            2nd Deed of Trust

Chase                                                                 Single Family Residence
PO Box 78035                                                          577 Paseo Refugio
Phoenix, AZ 85062-8035                                                Milpitas, CA 95035
                                                                  -

                                                                       Value $                              980,000.00                         42,137.05                  0.00
Account No. 1006102659                                                1st Deed of Trust

Indymac Mortgage Services                                             Single Family Residence
P.O. Box 4045                                                         577 Paseo Refugio
Kalamazoo, MI 49003-4045                                              Milpitas, CA 95035
                                                                  -

                                                                       Value $                              980,000.00                        664,931.00                  0.00
Account No. 028-10-106-00                                             4/10

Santa Clara Co. Tax Collector                                         Statutory Lien
70 W. Hedding St.
                                                                    Single Family Residence
San Jose, CA 95110
                                                                  - 577 Paseo Refugio
                                                                    Milpitas, CA 95035
                                                                       Value $                              980,000.00                          4,700.00                  0.00
                                                                                                                          Subtotal
 0
_____ continuation sheets attached                                                                                                            761,728.19                  0.00
                                                                                                                 (Total of this page)
                                                                                                                           Total              761,728.19                  0.00
                                                                                                 (Report on Summary of Schedules)
                 Case: 10-50707                     Doc# 23              Filed: 05/17/10
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                                                                                                                                                         of Case
                                                                                                                                                              2 Bankruptcy
B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                       Northern District of California
 In re       Jennifer Philoan Phan                                                                                Case No.   10-50707 RLE
                                                                                          Debtor(s)               Chapter    13




                           DECLARATION CONCERNING DEBTOR'S SCHEDULES - AMENDED

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                         I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                1        sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date May 13, 2010                                                            Signature   /s/ Jennifer Philoan Phan
                                                                                          Jennifer Philoan Phan
                                                                                          Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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